                   Case: 1:21-mj-02054-DAR Doc #: 1 Filed: 02/17/21 1 of 1. PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the                                FILED
                                                                                                         6:50 pm Feb 17 2021
                                               Northern District
                                                __________       of Ohio
                                                              District of __________
                                                                                                Clerk U.S. District Court
                  United States of America                        )                             Northern District of Ohio
                             v.                                   )                                    Cleveland
                                                                  )      Case No.      0-
                       DROR SVORAI                                )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           October 2020 thru Feb 17, 2021      in the county of              Cuyahoga         in the
     Northern          District of      Ohio, and elsewhere   , the defendant(s) violated:

            Code Section                                                    Offense Description

18 U.S.C. § 1028A                              Aggravated Identity Theft
18 U.S.C. § 1343                               Wire Fraud
18 U.S.C. § 1349                               Conspiracy to Commit Wire Fraud




         This criminal complaint is based on these facts:
See attached affidavit, which is incorporated herein by reference




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                        Anthony Fry, Special Agent
                                                                                              Printed name and title

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HOHFWURQLFPHDQV)HG5&ULP3DQG G  

Date:      Feb 17, 2021
                                                                                                Judge’s signature

City and state:                         Cleveland, Ohio                              David A. Ruiz, Magistrate Judge
                                                                                              Printed name and title
